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 1   DAVID L. JAFFE
     CHIEF, ORGANIZED CRIME AND GANG SECTION
 2   U.S. DEPARTMENT OF JUSTICE
     Kelly Pearson
     Deputy Chief
 3   Organized Crime and Gang Section
     1301 New York Avenue, N.W.
 4   Washington, D.C. 20005
     202-230-0709
 5   Counsel for Plaintiff

 6
                               UNITED STATES DISTRICT COURT
 7
                                      DISTRICT OF NEVADA
 8
     UNITED STATES OF AMERICA,            )
 9                                        )
                  Plaintiff,              )
10                                        )
                                          )
           vs.                            ) Case No.: 2:12-CR-83-APG-GWF
11                                        )
     OMAR BUTT,                           )
12                                        )
                 Defendant.               )
13                                        )
     ____________________________________ )
14
       STIPULATION TO CONTINUE GOVERNMENT’S DEADLINE TO RESPOND TO
15
              DEFENDANT BUTT’S MOTION FOR COMPASSIONATE RELEASE
16
            Plaintiff United States of America, by and through DAVID L. JAFFE, Chief, Organized
17
     Crime and Gang Section, U.S. Department of Justice, Kelly Pearson, Deputy Chief and defendant
18
     OMAR BUTT, by and through his undersigned attorney, stipulate and request that the Court
19
     continue for seven days the government’s response to the defendant’s motion for compassionate
20
     release (Doc. 541), current due on December 30, 2020. The government requests additional time
21
     to respond to defendant Butt’s motion.
22
            WHEREFORE, the parties stipulate and request that the Court continue the government’s
23
     deadline to respond to BUTT’s motion for compassionate release to January 6, 2021.
24
Case 2:12-cr-00083-APG-GWF Document 545 Filed 12/29/20 Page 2 of 3




 RESPECTFULLY SUBMITTED this 29th day of December, 2020.

                               DAVID JAFFE,
                               Chief, Organized Crime and Gang Section
                               U.S. Department of Justice


                               /s/ Kelly Pearson
                               KELLY PEARSON
                               Deputy Chief

                               By: /s/ Allen Frankel, Esq.
                               ALLEN FRANKEL, Esq.
                               Counsel for defendant BUTT




                               2
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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF NEVADA

UNITED STATES OF AMERICA,            )
                                     )
             Plaintiff,              )
                                     )
                                     )
      vs.                            )           Case No.: 2:12-CR-83-APG-GWF
                                     )
OMAR BUTT,                           )
                                     )           ORDER CONTINUING RESPONSE
            Defendant.               )           DEADLINE FOR GOVERNMENT TO
                                     )           DOC. 541
____________________________________ )


         This matter comes before the Court on the parties’ Stipulation to Continue the

government’s deadline to respond to defendant Butt’s motion for compassionate release. (Doc.

541).     Based on the stipulation of the parties, and good cause appearing therefore, the Court

hereby finds that:

         1.     The parties agree that the Government needs additional time respond to the

defendant’s motion for compassionate release.

         2.     Defendant BUTT has no objection to a continuance the government’s deadline to

respond from December 30, 2020 to January 6, 2021.

         IT IS THEREFORE ORDERED that the government’s deadline to respond to the

                                                                     January
defendant's motion for compassionate release, Doc. 541 be reset for ______   6
                                                                           ______, 2021.



IT IS
IT IS SO
      SO ORDERED this
         ORDERED____   29thday
                  this29th
                       day     of December,
                           of December,     2020.
                                        2020.


____________________________
HON. ANDREW P. GORDON
UNITED STATES DSITRICT JUDGE
                                            3
